USDC IN/ND case 2:09-cr-00043-TLS-PRC    document 488   filed 10/15/13   page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                 )
                                           )
 Plaintiff/Respondent,                     )
                                           )
 vs.                                       )    NO. 2:09-cr-43
                                           )
 HANEEF JACKSON-BEY,                       )
                                           )
 Defendant/Petitioner.                     )


                           OPINION AND ORDER
       This matter is before the Court on the “Motion Under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

 Federal Custody,” filed by Petitioner, Haneef Jackson-Bey, on

 September 27, 2013 (DE #485). For the reasons set forth below, the

 motion is DISMISSED for lack of jurisdiction.



 BACKGROUND

       On August 23, 2011, Jackson-Bey, pro se, filed a Petition

 under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By

 a Person in Federal Custody.           (DE #402.)   This Court entered an

 order on January 23, 2012, denying the section 2255 petition.                (DE

 #409.)   Jackson-Bey then filed a motion to reconsider.            (DE #421.)

 The Court also denied the motion to reconsider.            (DE #422.)
USDC IN/ND case 2:09-cr-00043-TLS-PRC       document 488   filed 10/15/13    page 2 of 3


 DISCUSSION

       Following a direct appeal, a defendant generally has one

 opportunity to challenge his conviction and sentence.                      Suggs v.

 United States, 705 F.3d 279, 281-82 (7th Cir. 2013); 28 U.S.C. §

 2255(a), (h).       Should a defendant wish to file a second or

 successive section 2255 motion challenging that same conviction or

 sentence, he must first gain authorization to do so from the court

 of   appeals;    otherwise,    the     district      court     does    not     have

 jurisdiction to consider the motion.             Suggs, 705 F.3d at 282; 28

 U.S.C. §§ 2244(a)-(b), 2255(h).        In general, only those successive

 motions which challenge the underlying conviction and present newly

 discovered evidence of defendant’s innocence or rely on a new

 retroactive constitutional law will be certified by the court of

 appeals for district court review.            Suggs, 705 F.3d at 282-83; 28

 U.S.C. § 2255(h).     “No matter how powerful a petitioner’s showing,

 only [the Seventh Circuit] may authorize the commencement of a

 second or successive petition.”            Nunez v. United States, 96 F.3d

 990, 991 (7th Cir. 1996).      As the Nunez Court explained:

              From the district court's perspective, it is
              an allocation of subject-matter jurisdiction
              to the court of appeals.     A district court
              must dismiss a second or successive petition,
              without awaiting any response from the
              government, unless the court of appeals has
              given approval for its filing. . . . A second
              or successive collateral attack may no more
              begin in the district court than a criminal
              prosecution may commence in the court of
              appeals.


                                        2
USDC IN/ND case 2:09-cr-00043-TLS-PRC       document 488   filed 10/15/13   page 3 of 3


 Nunez, 96 F.3d at 991 (emphasis in original).

       Because Jackson-Bey has already filed a section 2255 motion

 with this Court, his current section 2255 motion is considered a

 successive collateral attack on his sentence.             He has not obtained

 permission from the Seventh Circuit Court of Appeals to file this

 successive section 2255 motion, and, therefore, it is DISMISSED for

 lack of jurisdiction.




 DATED: October 15, 2013                      /s/ RUDY LOZANO, Judge
                                              United States District Court




                                        3
